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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
TROY LEE WHITMAN,                        :      Civil No. 1:20-CV-1452
                                         :
           Petitioner,                   :
                                         :
           v.                            :
                                         :
LEBANON COUNTY                           :
ADMINISTRATION, et al.,                  :
                                         :      Judge Jennifer P. Wilson
           Respondents.

                                    ORDER

     AND NOW, on this 4th day of November, 2020, for the reasons set forth in

the accompanying memorandum, IT IS ORDERED THAT:

     1.    Petitioner’s motion for leave to proceed in forma
           pauperis, Doc. 4, is granted.

     2.    Petitioner’s petition for writ of habeas corpus filed
           pursuant to 28 U.S.C. § 2241, Doc. 1, is dismissed
           without prejudice.

     3.    A certificate of appealability in this matter is denied.



                                             s/Jennifer P. Wilson
                                             JENNIFER P. WILSON
                                             United States District Court Judge
                                             Middle District of Pennsylvania
